                      Case 1:24-mj-00146-MAU Document 1 Filed 04/29/24 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                    Michael Hennessey
                                                                     )
                     DOB: XXXXXX                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                  in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

            Code Section                                                      Offense Description
        18 U.S.C. § 231(a)(3) - Civil Disorder,
        18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds,
        18 U.S.C. § 1752(a)(2) - Disorderly or Disruptive Conduct in a Restricted Building or Grounds,
        40 U.S.C. § 5104(e)(2)(D) - Disorderly or Disruptive Conduct in a Capitol Building or Grounds,
        40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.


         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                                                  , Officer
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH

Date:             04/29/2024
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                      Moxila A. Upadhyaya, U.S. Magistrate Judge
                                                                                               Printed name and title
